
325 So.2d 794 (1976)
Valliet DUHON
v.
Richard G. SALOOM and Michael E. Boustany.
No. 57401.
Supreme Court of Louisiana.
February 6, 1976.
Writ refused. On the facts found by the Court of Appeal, the result is correct.
DIXON, J., is of the opinion the Court of Appeal has misinterpreted Babineaux v. Pernie-Bailey Drilling Co., 261 La. 1080, 262 So.2d 328 and the factual issue on the *795 plea of prescription should have been submitted to the jury.
CALOGERO, J., is of the opinion this writ should be granted.
DENNIS, J., is of the view that writ should be granted.
